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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                   AUGUSTA AND STATESBORO DIVISIONS


IN RE:                                      Case Nos.:
                                                         CR619-015, P. Davis
LEAVE OF ABSENCE REQUEST                                 CR119-009, M. Murray
ALEJANDRO V. PASCUAL,IV                                  CR119-010, 0. Urbina-Aleman
February 5 through February 7, 2020;                     CRU9-074, Q. LaCount
February 10 through February 14, 2020;                   CR119-076, D. Streetman
and March 3 through March 6, 2020                        CR119-088, R. Moore
                                                         CR119-091, 0. Partin, et al.
                                                         CR119-092, D. Drexel, Jr.
                                                         CR119-098 L. Meminger, Jr.
                                                         CR119-108, B. Adams
                                                         CR119-111, R. Brown, et al.
                                                         CR119-114, C. Henderson, et al.
                                                         CR119-118, V. Camarena-Enriquez
                                                         CR119-123, B. Vazquez-Lopez
                                                         CR119-124, 0. Velasquez-Velasquez
                                                         CR119-130, A. Harris
                                                         CR119-131, A. Williams
                                                         CR119-143, K. Boyd
                                                         CR119-144, A. Morris
                                                         CR119-145, A. Bell
                                                         CR119-146, D. Daggett
                                                         CR119-147, 0. Rabadan
                                                         CR119-148, R. Newsome
                                                         CR119-163, S. Williams
                                                         CR119-164, L. Tagui-Angeles
                                                         CR119-165, J. Tagui-Angeles

                                         ORDER


         Upon consideration of the Motion for Leave of Absence filed by the United

 States of America in the above-cited cases on behalf of Assistant United States

 Attorney Alejandro V. Pascual, IV for the dates of February 5 through February 7,

 2020; February 10 through February 14, 2020 and March 3 through March 6, 2020

 for military duty with the Georgia Acmy National Guard; same is hereby GRANTED.

         This _/2^day of                      ^ . 2019.


                                         CHmF-JMGE J/RANDAL HALL
                                         UNITED^ATES DISTRICT COURT
                                                 HIN DISTRICT OF GEORGIA
